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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW HAMPSHIRE

 NATIONAL EDUCATIONAL
 ASSOCIATION; et al.,

              Plaintiffs,

 v.                                                  Case No. 1:25-cv-00091-LM

 UNITED STATES DEPARTMENT OF
 EDUCATION; et al.,

              Defendants.


 PLAINTIFFS’ EMERGENCY MOTION FOR TEMPORARY RESTRAINING ORDER
                   ORAL ARGUMENT REQUESTED

       Pursuant to Federal Rule of Civil Procedure 65 and Section 705 of the Administrative

Procedure Act, 5 U.S.C. § 705—and for the reasons stated in the accompanying memorandum,

declarations, and all pleadings filed—Plaintiffs National Education Association, National

Education Association-New Hampshire, and Center for Black Educator Development

(collectively, “Plaintiffs”) respectfully move this Court to issue a temporary restraining order

enjoining Defendants and their agents, employees, representatives, successors, and any other

person acting directly or indirectly in concert with them, from implementing the United States

Department of Education (ED)’s April 3, 2025 Certification Requirement and from taking any

adverse action on the basis of state and local education agencies’ responses or lack thereof.

Plaintiffs respectfully request a decision by Thursday, April 10, at 4:00 PM ET.

       Plaintiffs request that the temporary restraining order remain in place until the Court

renders a decision on Plaintiffs’ Motion for Preliminary Injunction. ECF 34. Given the potential

for additional and escalating enforcement efforts evidenced by ED’s issuance of the Certification

Requirement, Plaintiffs also respectfully request that the Court expedite its review of their Motion

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for Preliminary Injunction, or in the alternative issue a TRO enjoining all enforcement and

implementation of the DCL until the Court renders a decision on the Motion for Preliminary

Injunction.

       Plaintiffs have filed an accompanying memorandum of law and declaration supporting this

Motion. Pursuant to Local Rule 7.1(d), Plaintiffs respectfully request oral argument given the

importance of the issues presented in this Motion.

       Plaintiffs also move this Court for an order waiving the requirement for bond or security.

Dated: April 7, 2025

Respectfully submitted,

 Sarah Hinger*                                      /s/ Henry R. Klementowicz
 Amanda Meyer*                                      Henry R. Klementowicz (N.H. Bar No.
 Alexis Alvarez*                                    21177)
 Ethan Herenstein*                                  Gilles R. Bissonnette (N.H. Bar No. 265393)
 Victoria Ochoa*                                    SangYeob Kim (N.H. Bar No. 266657)
 Sophia Lin Lakin*                                  American Civil Liberties Union of New
 American Civil Liberties Union Foundation          Hampshire
 125 Broad Street, 18th Floor                       18 Low Avenue
 New York, NY 10004                                 Concord, NH 03301
 (212) 519-7882                                     (603) 224-5591
 shinger@aclu.org                                   gilles@aclu-nh.org


 Megan C. Keenan*                                   Rachel E. Davidson*
 American Civil Liberties Union Foundation          American Civil Liberties Union Foundation
 915 15th Street NW                                 of Massachusetts, Inc.
 Washington, DC 20001                               One Center Plaza, Suite 801
 (740) 632-0671                                     Boston, MA 02018
 mkeenan@aclu.org                                   (617) 482-3170
                                                    rdavidson@aclum.org




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Alice O’Brien*
Jason Walta*
Phil Hostak*
Stacy Hickox⸆
NEA Office of General Counsel              *admitted pro hac vice
National Education Association             ⸆ pro hac vice forthcoming
1201 16th Street NW
Washington, DC 20036
(202) 822-7035
aobrien@nea.org




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                                   CERTIFICATE OF SERVICE

       I hereby certify that on April 7, 2025, a true and exact copy of the foregoing was served

via email upon Defendants’ counsel as follows:

Rob Rabuck, Assistant United States Attorney
Rob.Rabuck@usdoj.gov


Dated: April 7, 2025                        Respectfully submitted,

                                            /s/ Henry R. Klementowicz
                                            Henry R. Klementowicz (N.H. Bar No. 21177)




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